                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA
                                   SPARTANBURG DIVISION

 JANE DOES 1-9,                                          Case No.: 7:20-cv-00947-TMC

                      Plaintiffs,

 vs.                                                 FOURTH AMENDED COMPLAINT
                                                         (Jury Trial Demanded)
 COLLINS MURPHY, LIMESTONE
 COLLEGE, MG FREESITES, LTD., d/b/a
 PORNHUB.COM, and HAMMY MEDIA
 LTD. d/b/a XHAMSTER.COM,

                     Defendants.


       The Plaintiffs, complaining of the Defendants, would respectfully show the Court the

following:

                                       INTRODUCTION

         1.     This is an action arising from Defendant Collins Murphy’s (hereinafter referred to

 as “Defendant Murphy”) intentional act of placing hidden spy cameras in the women’s locker

 room. These spy cameras were used for the purpose of surreptitiously filming the Plaintiffs and

 other women in all stages of undress and then posting the video footage onto the Co-Defendants

 websites.

         2.     The failure of Defendant Limestone College to reasonably investigate Defendant

 Murphy throughout the hiring process, despite similar sexual allegations being made against

 Defendant Murphy prior to his hiring, which resulted in the invasion of privacy and emotional

 distress of the Plaintiffs.

         3.     The deliberate motivation of Defendants MG Freesites, Ltd. and Hammy Media

 Ltd. that lead to the creation of sexually lewd content for financial gain which resulted in the
surreptitious filming of nine innocent girls who can never regain their innocence nor their peace

of mind as naked images of them are now available on the internet.

                                   PARTIES AND VENUE

       4.    Plaintiff, Jane Doe 1 (hereinafter referred to as “Plaintiff 1”), is and was at all times

mentioned herein, a citizen and resident of Jeffersonville, Clark County, Indiana.

       5.    Plaintiff, Jane Doe 2 (hereinafter referred to as “Plaintiff 2”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

       6.    Plaintiff, Jane Doe 3 (hereinafter referred to as “Plaintiff 3”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

       7.    Plaintiff, Jane Doe 4 (hereinafter referred to as “Plaintiff 4”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

       8.    Plaintiff, Jane Doe 5 (hereinafter referred to as “Plaintiff 5”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

       9.    Plaintiff, Jane Doe 6 (hereinafter referred to as “Plaintiff 6”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

       10.   Plaintiff, Jane Doe 7 (hereinafter referred to as “Plaintiff 7”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

       11.   Plaintiff, Jane Doe 8 (hereinafter referred to as “Plaintiff 8”), is and was at all times

mentioned herein, a citizen and resident of LaGrange, Oldham County, Kentucky.

       12.   Plaintiff, Jane Doe 9 (hereinafter referred to as “Plaintiff 9”), is and was at all times

mentioned herein, a citizen and resident of San Antonio, Bexar County, Texas.

       13.   At present, and all times relevant to this action, Defendant Limestone College

(hereinafter referred as “Defendant Limestone”) is a private co-ed liberal arts college located at


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1115 College Drive, Gaffney, South Carolina 29340, and carries out its business by and through

its agents, servants, and/or employees, and is therefore directly and vicariously liable for the

wrongful acts described in this Complaint.

       14.   Defendant, Collins Murphy, is a citizen and resident of Rockville, Maryland. At all

times mentioned herein, Defendant, Collins Murphy, was employed by Limestone College as its

intramural/summer conference director.

       15.   Under the doctrine of respondeat superior, Defendant Limestone was and is

responsible for the actions and conduct of Defendant Murphy done while employed by Limestone

as its agent and employee and Defendants are thereby jointly and severally liable to Plaintiffs for

their injuries and damages.

       16.   Defendant MG Freesites, Ltd., d/b/a Pornhub.com (hereinafter referred to as

“Defendant Pornhub”) is a Cypress company with headquarters located at Block 1, Dali Industrial

Area, 195-197 Old Road Nicosia-Limassol Dali, 2540 Cyprus.

       17.   Upon information and belief Defendant Pornhub endorses, solicits, coordinates,

and participates in the creation of sexually lewd content and monetizes its creation through

payment by ad revenues generated by said content to those who have conspired with them. The

actions described herein are not new to this Defendant and are patterns of conduct which the

Defendant derives great profit.

       18.   Upon information and belief Defendant Pornhub, since beginning the practice of

paying for lewd content views, has received numerous takedown notices by women who did not

consent to be filmed in content posted on their website. Further, the title of the videos that were

advertised to the public indicated that the videos were secret and consensual.




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       19.    Defendant Hammy Media Ltd. d/b/a xHamster.com (hereinafter referred to as

“Defendant xHamster”) is a pornographic media company that is headquartered at P.O. Box

59532, Limassol, 4010 Cyprus and has a US office in Houston Texas.

       20.    Upon information and belief, like Defendant Pornhub, Defendant xHamster

endorses, solicits, coordinates, and participates in the creation of lewd sexual content by

monetizing it through ad revenue payments made to those who have conspired with them.

       21.    Upon information and belief Defendant xHamster has received takedown notices

by women who did not consent to be filmed in content present on their website.

       22.    Both Defendant Pornhub and Defendant xHamster have made purposeful electronic

contacts with the State of South Carolina which resulted in a cause of action recognized by South

Carolina.

       23.    Jurisdiction is proper in this Court as the matter in controversy exceeds $75,000.00,

exclusive of interest and costs, and is between citizens of different States.

       24.    Venue is proper in this Court as a substantial part of the events complained of herein

occurred in Gaffney, Cherokee County, South Carolina.

                                            FACTS
                       (As to Defendant Limestone and Defendant Murphy)

       25.    All of the allegations previously set forth are incorporated herein by reference.

       26.    In August 2012 Limestone College hired Collins Murphy as its intramural/summer

conference director.

       27.    On October 5, 2012, the Bellarmine University Knights traveled to Gaffney, South

Carolina to face the Limestone College Saints in women’s field hockey. Plaintiffs were members

of the Bellarmine Knights field hockey team.



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        28.   Upon arrival, Limestone College agents directed Plaintiffs to a men’s locker room

which was designated for their use both before and after the game.

        29.   While in the subject locker room, Plaintiffs showered and changed clothes such that

they were in a state of nudity for periods of time.

        30.   Defendant Murphy, secretly placed a video camera in the subject locker room prior

to Plaintiffs’ arrival on campus and recorded the Plaintiffs, without their knowledge or consent,

while they were in a state of nudity.

        31.   As intramural/summer conference director, Defendant Murphy, had knowledge of

sporting events on campus and had access to athletic facilities, such as the subject locker room,

with Limestone College’s knowledge and consent.

        32.   Defendant Murphy, secretly recorded multiple women, including women who are

not Plaintiffs in this action, changing clothes and taking showers in locker rooms between

September 2012 and October 2013.

        33.   Defendant Murphy’s employment with Limestone College ceased in October

2014.

        34.   At some point in 2019, the recordings of the Plaintiffs were uploaded and

disseminated to countless pornographic websites, stripping the Plaintiffs of their innocence.

        35.   On October 10, 2019, the Gaffney Police Department opened an investigation into

the illegal video recordings which took place on Limestone College’s campus. Upon information

and belief, the investigation remains ongoing.

        36.   On October 18, 2019, the Plaintiffs were first made aware that they were secretly

videotaped while showering and changing their clothes in the Limestone College locker room;

and that the recording was posted to several pornographic websites.


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       37.    Upon information and belief Defendant Murphy continues to possess, upload,

forward and/or disseminate the nude videos of Plaintiffs and other female student athletes

obtained by the use of the hidden camera in the Limestone locker room facility.

       38.    Defendant Murphy maintained user accounts on both Pornhub and xHamster for

many years.

       39.    Defendant Murphy developed a large following of thousands of viewers who would

regularly subscribe and watch the content he generated and posted on both Pornhub and

xHamster.

       40.    Defendant Murphy established these accounts and grew his following for the

purpose of generating an income from creating lude sexual content that he filmed surreptitiously.

       41.    Defendant Murphy regularly engaged in the surreptitious filming of women by spy

camera to add to his catalog of content on the accounts found on both Pornhub and xHamster.

       42.    Defendany Murphy gained an income from the content he provided on his accounts

on the Pornhub and xHamster websites.

       43.    Defendant Limestone failed to meet their duty owed to its students and those

visiting when it failed to properly investigate Defendant Murphy during the hiring process.

       44.    As a direct and proximate result of the secret and unauthorized videotaping, and the

dissemination and publishing of the videos to other individuals and the general public on the

Pornhub.com and other pornographic websites, Plaintiffs have sustained, and will continue to

sustain, injuries and damages, including but not limited to anxiety, humiliation, embarrassment,

serious mental and emotional distress and mental pain and suffering.




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                                          FACTS
                     (As to Defendant Pornhub and Defendant xHamster)

       45.      Upon information and belief both Defendant Pornhub and Defendant xHamster

promote the creation of lewd sexual content by providing payment to those who submit such

media to their website.

       46.      This lewd sexual content increases the viewership to their respective platforms

which increases their own financial gain.

       47.      Upon information and belief Defendant Pornhub and Defendant xHamster

individually schemed to increase their financial positions by enlisting others to create sexually

deviant content and shared the revenues such content generated with the providers.

       48.      This scheme created a joint venture partnership and civil conspiracy between

Defendants(and the Defendant Murphy) and the individuals who provided the Defendants with

the lewd, sexual, and pornographic content which the Defendants used to make money and

removes any protections granted to them as they are no longer merely hosts of said content.

       49.      But for the Defendants monetization of the creation of “homemade/ spy cam” style

lewd content, such content would likely have not been so heavily sought after.

       50.      Upon information and belief the Defendants, after starting this practice, have

received takedown notices by women who appeared on their websites but never consented to

being filmed.

       51.      Despite these takedown notices, which gave Defendant Pornhub and Defendant

xHamster adequate notice of apparent issues involving their content, took no steps to mitigate

the exposure of women even though they knew or should have known that the content they were

being provided was filmed surreptitiously and without consent.



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       52.    Defendant Pornhub and Defendant xHamster, made no further efforts to monitor

the uploads onto their websites despite a duty being created by the several takedown notices

received.

       53.    Upon information and belief Defendant Pornhub and Defendant xHamster provided

payment to Defendant Murphy in exchange for the content he posted on his accounts found on

their respective websites.

       54.    Defendant Pornhub and Defendant xHamster rewarded Defendant Murphy for

developing a large internet following for the purpose of making money and sharing spy camera

footage of women without their consent.

       55.    The content Defendant Murphy made an income from was similar to the content

that both Defendant Pornhub and Defendant xHamster had previously received takedown notices

for but they chose to ignore their similarity.

       56.    By actively ignoring the trend that such takedown notices made aware to them, and

by continuing to endorse and encourage the creation of such surreptitious sexual content,

Defendant Pornhub and Defendant xHamster enabled the Plaintiffs to be harmed by Defendant

Murphy.

       57.    Defendant Pornhub and Defendant xHamster normalized the invasion of privacy

conducted by their agent Defendant Murphy by creating an avenue for which he could be

compensated for the uploading of such media.

       58.    Defendant Pornhub and Defendant xHamster painted the Plaintiffs in a false light

by allowing them to be present on their websites, permanently damaging their self-esteem,

marital relationships, and the reputation.




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        59.     Defendant Pornhub’s and Defendant xHamster’s conduct in allowing those they

have conspired with to upload sexually deviant media under the names “spy cam” or “hidden

cam”, without properly ensuring such content was created with authorization despite receiving

several takedown notices from women who did not consent to similar content, both were the

direct and proximate cause of the injuries suffered by the Plaintiffs.

                   FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANTS
                   (Invasion of Privacy – Wrongful Intrusion upon Private Affairs)

        60.     Plaintiffs incorporate by reference and reasserts all previous allegations contained

in this Complaint as if fully set forth herein.

        61.     Defendant Murphy, in his capacity as an employee and agent of Defendant

Limestone, was given access to and/or control over the locker room facilities at Limestone.

        62.     Utilizing that access, Defendant Murphy placed a hidden video camera in

Defendant Limestone’s locker room and captured video and images of the Plaintiffs their

teammates, and other student athletes from around the nation, all while they were fully nude, or

in various stages of undress.

        63.     The secret and unauthorized videotaping by Defendant Murphy of the Plaintiffs and

the other student athletes constitutes an intrusion in to the private affairs of the Plaintiffs and the

other women.

        64.     The intrusion was and is highly offensive, substantial and unreasonable to a

reasonable person such that it constitutes a blatant and shocking disregard of Plaintiffs’ rights.

        65.     The secret and unauthorized videotaping by Defendant Murphy was intentional.

        66.     The secret and unauthorized videotaping by Defendant Murphy was motivated by

the joint venture partnership between Defendant Murphy and Defendants Pornhub and xHamster

respectively.

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        67.     The acts of Defendants, collectively, led to the wrongful intrusion of the Plaintiffs’

private affairs.

        68.     As a direct and proximate result of the conduct by Defendants, the Plaintiffs have

sustained the injuries and damages referenced above, including serious mental and emotional

injuries and distress.

        69.     The conduct by Defendants was a willful and wanton violation of the privacy rights

of the Plaintiffs and the other student athletes, such that the Plaintiffs are entitled to an award of

punitive damages.

              FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANTS
                (Invasion of Privacy – Wrongful Publicizing of Private Affairs)

        70.     Plaintiffs incorporate by reference and reasserts all previous allegations contained

in this Complaint as if fully set forth herein.

        71.     The conduct of Defendants in secretly videotaping the Plaintiffs and theother

student athletes while totally nude, or in various stages of undress, was done intentionally, and

without consent, to Defendants’ benefit.

        72.     The secret and unauthorized videotaping by Defendants of the Plaintiffs

        73.     and the other student athletes constitutes an intrusion in to the private affairs of the

Plaintiffs and the other women.

        74.     The intrusion was and is highly offensive, substantial and unreasonable to a

reasonable person such that it constitutes a blatant and shocking disregard of Plaintiffs’ rights.

        75.     The Plaintiffs have an enforceable right to their identities/personas.

        76.     The Defendants use of Plaintiffs’ identities/personas without permission in this

manner allows for Defendants to be advantaged by the appropriation and publication of their

private affairs.

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        77.   As a direct and proximate result of the conduct by Defendants, the Plaintiffs have

sustained the injuries and damages referenced above, including serious mental and emotional

injuries and distress.

        78.   The conduct by Defendants was a willful and wanton violation of the privacy rights

of the Plaintiffs and the other student athletes, such that the Plaintiffs are entitled to an award of

punitive damages.

                 FOR A THIRD CAUSE OF ACTION AGAINST DEFENDANTS
                  (Invasion of Privacy – Wrongful Appropriation of Personality)

        79.   Plaintiffs incorporate by reference and reasserts all previous allegations contained

in this Complaint as if fully set forth herein.

        80.   The conduct of Defendants in secretly videotaping the Plaintiffs and the other

student athletes while totally nude, or in various stages of undress, was done intentionally, and

without consent, to Defendants’ benefit.

        81.    The secret and unauthorized videotaping by Defendants of the Plaintiffs and the

other student athletes constitutes an intrusion in to the private affairs of the Plaintiffs and the

other women.

        82.   The intrusion was and is highly offensive, substantial and unreasonable to a

reasonable person such that it constitutes a blatant and shocking disregard of Plaintiffs’ rights.

        83.   The Plaintiffs have an enforceable right to their identities/personas.

        84.   The Defendants use of Plaintiffs’ identities/personas without permission in this

manner allows for Defendants to be advantaged by the appropriation.

        85.   As a direct and proximate result of the conduct by Defendants, the Plaintiffs have

sustained the injuries and damages referenced above, including serious mental and emotional

injuries and distress.

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        86.   The conduct by Defendants was a willful and wanton violation of the privacy rights

of the Plaintiffs and the other student athletes, such that the Plaintiffs are entitled to an award of

punitive damages.

               FOR A FOURTH CAUSE OF ACTION AGAINST DEFENDANTS
                       (Intentional Infliction of Emotional Distress)

        87.    Plaintiffs incorporate by reference and reasserts all previous allegations contained

in this Complaint as if fully set forth herein.

        88.    The conduct of Defendants in secretly videotaping the Plaintiffs and the other

student athletes while totally nude, or in various stages of undress, was done intentionally to

inflict severe emotional distress on the Plaintiffs and/or Defendants knew that such distress would

likely result from such conduct.

        89.    Defendants’ conduct was so extreme and outrageous that it exceeded all possible

bounds of decency and was furthermore atrocious and utterly intolerable in a civilized

community.

        90.    As a direct and proximate result of Defendants’ wrongful conduct, the Plaintiffs

have suffered, and continue to suffer, severe emotional distress.

        91.    The emotional distress caused by Defendant’s wrongful conduct was, and is, so

severe such that no reasonable person could be expected to endure it.

        92.    As a direct and proximate result of Defendants’ wrongful and unlawful conduct,

the Plaintiffs have sustained the injuries and damages referenced above, including serious mental

and emotional injuries and distress.

        93.    The wrongful conduct by Defendants was willful, wanton and undertaken in

reckless disregard for the privacy rights of the Plaintiffs and the other student athletes, such that

the Plaintiffs are entitled to an award of PUNITIVE damages.

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              FOR A FIFTH CAUSE OF ACTION AGAINST DEFENDANTS
                       (Negligent Hiring – Defendant Limestone)

        94.      Plaintiffs incorporate by reference and reasserts all previous allegations contained

in this Complaint as if fully set forth herein.

        95.      Prior to being hired by Defendant Limestone, allegations of misconduct were made

against Defendant Murphy.

        96.      The existence of these allegations gave notice to Defendant Limestone that there

may be a potential undue risk presented to students in hiring Defendant Murphy.

        97.      The risk of Defendant Murphy could have been discovered through a reasonable

investigation.

        98.      Defendant Limestone breached their duty by either failing to conduct a reasonable

investigation into Defendant Murphy prior to hiring him, or by hiring Defendant Murphy despite

being on notice that he presented a potential undue risk to female students.

        99.      This negligent hiring of Defendant Murphy by Defendant Limestone was the direct

and proximate cause of the Plaintiffs’ injuries.

              FOR A SIXTH CAUSE OF ACTION AGAINST DEFENDANTS
                     (Negligent Supervision – Defendant Limestone)

        100. Plaintiffs incorporate by reference and reasserts all previous allegations contained

        101. in this Complaint as if fully set forth herein.

        102. Defendant Limestone had a duty of care to supervise its employees who had access

to areas in which individual’s privacy could be violated.

        103. Defendant Limestone breached this duty by its failure to supervise Defendant




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        104. Murphy who had access to the women’s locker rooms and other facilities on

campus.

        105. Defendant Murphy was acting within the scope of his employment when entering,

or accessing the women’s locker rooms, and thus Defendant Limestone was able to control or

supervise his conduct.

        106. Defendant Limestone knew or should have known that having access to women’s

locker rooms presented a foreseeable risk to privacy.

        107. Defendant Limestone’s failure to supervise Defendant Murphy enabled the

placement of hidden cameras used to videotape the Plaintiffs while nude or in the stages of

undress.

        108. Thus, the unfettered and unsupervised access to locker room facilities by Defendant

Murphy was the result of Defendant Limestone’s negligent supervision and is the direct and

proximate cause of the Plaintiffs’ injuries.

            FOR A SEVENTH CAUSE OF ACTION AGAINST DEFENDANTS
           (Negligent Monitoring – Defendant Pornhub and Defendant xHamster)

        109. Plaintiffs incorporate by reference and reasserts all previous allegations contained

in this Complaint as if fully set forth herein.

        110. Defendant Pornhub and Defendant xHamster both operate and maintain

pornographic websites.

        111. In maintaining such websites, Defendant Pornhub and Defendant xHamster have

received takedown notices by viewers who have indicated that content present on their respective

websites were obtained illegally or contained illegal images.




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        112. Such notices gave Defendant Pornhub and Defendant xHamster notice of various

issues regarding their websites and created a duty owed to viewers and users of their websites to

properly monitor their content.

        113. Defendant Pornhub and Defendant xHamster breached this duty when they failed

to take reasonable steps to monitor the content present on their websites.

        114. This breach in failing to reasonably monitor content on their websites resulted in

the presence of illegally filmed pornographic content being present on their websites

respectively.

        115. This failure to reasonably monitor was the direct and proximate cause of the injuries

suffered by the Plaintiffs.

             FOR A EIGTH CAUSE OF ACTION AGAINST DEFENDANTS
               (False Light – Defendant Pornhub and Defendant xHamster)

        116. Plaintiffs incorporate by reference and reasserts all previous allegations contained

in this Complaint as if fully set forth herein.

        117. Defendant Pornhub and Defendant xHamster both operate and maintain

pornographic websites.

        118. Both Defendants websites hosted videos of the Plaintiffs which exposed them in

the various stages of undress and revealed their nude presence to numerous viewers under the

guise of a “spy cam” or “hidden cam” porn film.

        119. These videos portray the Plaintiffs as sexual deviants/pornstars which the

        120. Plaintiffs are not as the videos were recorded surreptitiously.

        121. These videos of the Plaintiffs are highly offensive and embarrassing and has

resulted in permanent mental anguish in the Plaintiffs.



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        122. The Defendants took no steps in verifying whether the videos were filmed with the

consent of the girls, thus shared these videos with a reckless and wanton disregard for their

offensiveness.

        123. This reckless and wanton disregard depicted the Plaintiffs in a false light and is the

direct and proximate cause of their injuries.

         FOR A NINTH CAUSE OF ACTION AGAINST THE DEFENDANTS
         (Civil Conspiracy- against Defendant Murphy and Defendant Pornhub)

        124. Plaintiffs incorporate by reference and reasserts all previous allegations contained

in this Complaint as if fully set forth herein.

        125. The Defendants conspired for the purpose of creating sexually lewd content which

directly invaded the Plaintiffs’ rights to privacy guaranteed by the United States Constitution.

More particularly, the Plaintiffs have been harmed as a direct and proximate result.

        126. During period alleged in this Complaint, defendants engaged in a plan, scheme,

conspiracy and course of conduct, pursuant to which they knowingly or recklessly engaged in

acts, transactions, practices and courses of business which resulted in the surreptitious and illegal

filming of the Plaintiffs. Such scheme was intended to, and, throughout timeframe alleged in this

Complaint, did create content that was published on the Defendant Pornhub’s website which

exposed Plaintiffs to viewers on the internet for profit.

        127. As a direct and proximate result of the improper actions of the Defendants,

Plaintiffs have been damaged in ACTUAL, CONSEQUENTIAL AND PUNITIVE DAMAGES.

          FOR A TENTH CAUSE OF ACTION AGAINST THE DEFENDANTS
         (Civil Conspiracy- against Defendant Murphy and Defendant xHamster)

        128. Plaintiffs incorporate by reference and reasserts all previous allegations contained

in this Complaint as if fully set forth herein.


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        129. The Defendants conspired for the purpose of creating sexually lewd content which

directly invaded the Plaintiffs’ rights to privacy guaranteed by the United States Constitution.

More particularly, the Plaintiffs have been harmed as a direct and proximate result.

        130. During period alleged in this Complaint, defendants engaged in a plan, scheme,

conspiracy and course of conduct, pursuant to which they knowingly or recklessly engaged in

acts, transactions, practices and courses of business which resulted in the surreptitious and illegal

filming of the Plaintiffs. Such scheme was intended to, and, throughout timeframe alleged in this

Complaint, did create content that was published on the Defendant xHamster’s website which

exposed Plaintiffs to viewers on the internet for profit.

        131. As a direct and proximate result of the improper actions of the Defendants,

Plaintiffs have been damaged in ACTUAL, CONSEQUENTIAL AND PUNITIVE DAMAGES.

    FOR A ELEVENTH CAUSE OF ACTION AGAINST THE DEFENDANTS
(CONDUCTING THE AFFAIRS OF THE ENTERPRISE THROUGH A PATTERN OF
  RACKETEERING ACTIVITY - 18 U.S.C. § 1962(c) and 1964(c) against Defendant
                   Murphy and Defendant xHamster)

        132. Plaintiffs incorporate by reference and reasserts all previous allegations contained

in this Complaint as if fully set forth herein.

                                      THE ENTERPRISE

        133. From on or about 2014, continuing through the filing of this Complaint, each

Defendant was a “person” within the meaning of 18 U.S.C. § 1961(3).

        134. From on or about 2014, continuing through the filing of this Complaint,

defendants, and others known and unknown, including agents and employees of the defendants,

formed an associated-in-fact enterprise within the meaning of 18 U.S.C. §§ 1961(4).




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        135. From on or about 2014, continuing through the filing of this Complaint, the

Enterprise formed by these parties engaged in, and the activities of which affected, interstate and

foreign commerce.

        136. Defendants formed the Enterprise to execute and attempt to execute schemes to

engage in the creation and dissemination of illegally obtained obscene footage of nonconsenting

women. Defendants knowingly engaged in the illegal filming of women in all stages of undress

for the specific purpose of exploiting their innocence for financial gain.

        137. From on or about 2014, continuing through the filing of this Complaint, defendants,

and each of them individually, together with others known and unknown to Plaintiffs, acting in

concert, were each employed or were employed by and associated with the Enterprise and have

in the past, continuously and currently continue to, in an ongoing manner, knowingly and

intentionally conduct the activities of the enterprise, directly or indirectly, through a continued

pattern of racketeering activity consisting of numerous acts of racketeering in the State of South

Carolina and elsewhere. Their actions include multiple, related acts in violation of the following

provisions of the United States Code: Wire Fraud, 18 U.S.C. § 1343;

        138. From on or about 2014, the Enterprise has existed separate and apart from

defendants’ racketeering acts and their conspiracy to commit such acts. The Enterprise has an

ascertainable structure and purpose beyond the scope and commission of defendants’ predicate

acts.

                          THE PATTERN OF RACKETEERING

        139. The Enterprise as described herein is at all relevant times a continuing enterprise

because it continues to execute schemes to create and disseminate illegally obtained obscene

footage of nonconsenting woman for the purpose of generating revenue. In furtherance of


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schemes to create and disseminate illegally obtained obscene footage of nonconsenting woman

for the purpose of generating revenue, Defendants continue to create videos under the moniker

“Spy came videos” or “Hidden Cam Videos” and displays them as consensual recordings when

they are not.

        140. The conduct of the racketeering enterprise has continued from its inception through

the date of this Complaint and threatens to continue into the future, by virtue of repeated patterns

of behavior by its members.

        141. The pattern of racketeering activity, as defined by 18 U.S.C. §§ 1961(1) and (5),

presents both a history of criminal conduct and distinct threat of continuing criminal activity.

Such activity consists of multiple acts of racketeering by each defendant herein, is interrelated,

not isolated and is perpetrated for the same or similar purposes by the same persons. Such activity

extends over a substantial period of time, before, up to and beyond the date of this Complaint.

Such activities occurred after the effective date of 18 U.S.C. §§ 1961 et seq., and the last such

act occurred within 10 years after the commission of a prior act of racketeering activity.

        142. Each defendant had a role in the racketeering activity that was distinct from the

undertaking of those acting on its behalf. Each defendant also attempted to benefit, and did

benefit, from their activity as alleged herein, and thus were not passive victims of racketeering

activity, but active perpetrators.

        143. Defendants, despite receiving notice that the videos they have been creating violate

the law, continued their scheme and resumed the creation of “Spy Cam Videos”.

        144. Defendants have continued the pattern of exploiting women by illegally filming

them and then monetizing the surreptitiously filmed content under the guise of legitimate




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pornography. Since at least 2014 Defendants have advertised these “Spy cam” videos and

continue to endorse the genre.

        145. Defendant Pornhub and Defendant xHamster continue to work with and even

rewarded Defendant Murphy for developing a large internet following for the purpose of making

money and sharing spy camera footage of women without their consent.

        146. Defendants maintained a presence worldwide to even include the illegal videos

being disseminated in Japan and South America.

        147. Defendants advertise their great successes to continue the pattern and practice of

the illegal recording of women to then share under the guise of a specific genre.

        148. This lewd, illegal, sexual content increases the viewership to their respective

platforms which increases their own financial gain.

        149. Defendants continue to conspire to create and disseminate surreptitiously filmed

videos of women and pay members of the Enterprise to further this scheme.

        150. As a direct and proximate result of the defendants’ violations of 18 U.S.C.

§1962(c), including injury by reason of the predicate acts constituting the pattern of racketeering

activity.

        151. As a result of the violations of 18 U.S.C. § 1962(c) by the defendants, Plaintiffs

suffered substantial damages in an amount to be proved at trial.

        152. Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover treble its general

and special compensatory damages, plus interest, costs and attorneys’ fees, incurred by reason of

defendants’ violations of 18 U.S.C. § 1962(c).




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                                               DAMAGES

         153. As a direct and proximate result of the negligence, gross negligence, recklessness,

willfulness and wantonness of the Defendants herein, Plaintiffs suffered injuries including, but

not limited to:

       1.         mental pain and anguish.

       2.         loss of quality in the marital relationship.

       3.         humiliation and embarrassment.

                                       PRAYERS FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against each of the Defendants Jointly and

Severally:

       A.         for actual and consequential damages, including damages for emotional distress,

                  pain and suffering, in an amount to be determined at trial;

       B.         for punitive damages;

       C.         special damages in an amount to be determined at trial;

       D.         attorney’s fees

       E.         treble damages

       C.         such other and further relief as this Court deems just and proper.




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                   Respectfully submitted,


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